






















IN THE COURT OF CRIMINAL APPEALS
OF TEXAS



NO. PD-0649-10 




DONALD WAYNE HEROD Appellant

v.

THE STATE OF TEXAS



ON APPELLANT’S PETITION FOR DISCRETIONARY REVIEW
FROM THE FIRST COURT OF APPEALS
 HARRIS COUNTY



&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Per curiam.  Keasler, and Hervey, J.J., dissent.

O R D E R 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The petition for discretionary review violates Rule of Appellate Procedure 9.3 and 
68.4(i)  because the original petition is not accompanied by 11 copies and the petition
does not contain a copy of the opinion of the court of appeals
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The petition is struck.  See Rule of Appellate Procedure 68.6.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The petitioner may redraw the petition.  The redrawn petition and copies must be
filed in the Court of Criminal Appeals within thirty days after the date of this order.
En banc.
Delivered: September 15, 2010
Do Not Publish.


